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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


NATALIE JAMES,                                      *
                                                    *
                          Plaintiff,                *
                                                    *
vs.                                                 *       No. 4:09CV00412 SWW
                                                    *
ANDERSON, CRENSHAW                                  *
& ASSOCIATES, L.L.C.,                               *
                                                    *
                          Defendant.                *

            AGREED ORDER OF DISMISSAL PURSUANT TO SETTLEMENT

        Pursuant to settlement, and by agreement of the parties, this case is dismissed without

prejudice, without costs to either party, and with leave for the parties to seek reinstatement within

forty-five (45) days from the date of entry of this order. If this case has not been reinstated within

forty-five (45) days from the date of entry of this order, or a motion for reinstatement has not been

filed by said date, then the dismissal of this case shall automatically convert from a dismissal without

prejudice to a dismissal with prejudice.

        The Settlement Conference set for December 8, 2009 is stricken.

        The Trial Date of March 22, 2010 is stricken.

        DATED this 3rd day of December, 2009.

                                                /s/Susan Webber Wright

                                                UNITED STATES DISTRICT JUDGE
